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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                     Case No. 11-20551

 ADELFO PAMATMAT (D-18),

               Defendant.
                                                    /

         ORDER DENYING EMERGENCY MOTION TO DISMISS INDICTMENT

        On May 4, 2015, Defendant Adelfo Pamatmat filed an untimely “emergency”

 motion, attacking as perjury the presentation of evidence by Drug Enforcement

 Administration Task Force Officer Patrick DeBottis in the course of his grand jury

 testimony. (Dkt. # 1060.) Pamatmat also accuses the government attorneys of

 misconduct and unethical behavior for allegedly failing to correct what they knew to be

 perjury. The government responded in opposition. (Dkt. # 1063.)

        Pamatmat’s motion struts and frets, and is replete with furious and inflammatory

 accusations, but is sadly devoid of an explanation as to how the subject testimony is

 even incorrect, let alone how it constitutes intentionally misleading perjury. Cf. United

 States v. Adamo, 742 F.2d 927, 940 (6th Cir. 1984) (“[T]he prosecutor [should] avoid

 knowingly using perjured testimony at any point in the prosecution of a case.”). It

 appears to be, for the most part, similar to testimony that the court heard and credited in

 the April 8, 2015, evidentiary hearing. The Officer said that Pamatmat made

 incriminating statements, and the court credited that testimony. How such testimony
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 before the grand jury could be perjury stands as a mystery. Similarly, the Officer said in

 his grand jury testimony that things of evidentiary value were recovered in the search of

 defendant's house. As demonstrated by the government in response, that statement

 also is factual. (Dkt. # 1063, Pg. ID 5606-07.)

           Pamatmat’s motion, as well-explained by the government in its response, is

 therefore baseless. Accordingly,

           IT IS ORDERED that Defendant Adelfo Pamatmat’s Emergency Motion to

 Dismiss Indictment (Dkt. # 1062) is DENIED.

                                                               s/ Robert H. Cleland
                                                               ROBERT H. CLELAND
                                                               UNITED STATES DISTRICT JUDGE

 Dated: May 7, 2015

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, May 7, 2015, by electronic and/or ordinary mail.

                                                                S/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (313) 234-5522




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